Case 8:06-cr-00349-JSM-MAP Document 294 Filed 10/12/10 Page 1 of 6 PageID 722
Case 8:06-cr-00349-JSM-MAP Document 294 Filed 10/12/10 Page 2 of 6 PageID 723
Case 8:06-cr-00349-JSM-MAP Document 294 Filed 10/12/10 Page 3 of 6 PageID 724
Case 8:06-cr-00349-JSM-MAP Document 294 Filed 10/12/10 Page 4 of 6 PageID 725
Case 8:06-cr-00349-JSM-MAP Document 294 Filed 10/12/10 Page 5 of 6 PageID 726
Case 8:06-cr-00349-JSM-MAP Document 294 Filed 10/12/10 Page 6 of 6 PageID 727
